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                         UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION

 ROBERT J. WOLFE, individually,
 and on behalf of all others similarly
 situated,                                           Case No. 2:21-cv-01313-PLD

      Plaintiff,

 v.

 COLLECTION MANAGEMENT
 COMPANY d/b/a CREDIT MANAGEMENT
 COMPANY,

      Defendant.

                                STIPULATION OF DISMISSAL

        Plaintiff, ROBERT J. WOLFE, and Defendant, COLLECTION MANAGEMENT

COMPANY d/b/a CREDIT MANAGEMENT COMPANY, by and through their undersigned

counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby stipulate to a dismissal with

prejudice of Plaintiff’s individual claims against COLLECTION MANAGEMENT COMPANY

d/b/a CREDIT MANAGEMENT COMPANY. The parties further stipulate to the dismissal of the

class claims without prejudice. Each party to bear its own attorney’s fees and costs.

Dated: January 25, 2022                        Respectfully Submitted,

 ROBERT J. WOLFE                                    COLLECTION MANAGEMENT
                                                    COMPANY d/b/a CREDIT
                                                    MANAGEMENT COMPANY
 /s/ Mohammed O. Badwan                             /s/James McNally
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                                                    Counsel for Defendant
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                            CERTIFICATE OF SERVICE

      I, Mohammed O. Badwan, an attorney, certify that on January 25, 2022, I caused the

foregoing to be served upon counsel of record through operation of the Court’s Case

Management/Electronic Case File (CM/ECF) system.

                                                   /s/ Mohammed O. Badwan
